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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           SAN JOSE DIVISION

                                  11
                                        LARRY J. LICHTENEGGER,
                                  12                                                         Case No. 5:14-cv-00100 HRL
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            ORDER TO SHOW CAUSE RE
                                                                                             SETTLEMENT
                                  14            v.

                                  15    JAMES CRIVELLO, JOHN CRIVELLO;
                                        THE COUNTY OF MONTEREY,
                                  16
                                                       Defendants.
                                  17
                                              The court having been informed that the parties have reached a settlement, all previously
                                  18
                                       scheduled deadlines and appearances are vacated and all pending motions are terminated.
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                                              On or before March 16, 2015, the parties shall file a stipulated dismissal pursuant to Fed.
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                                       R. Civ. P. 41(a). If a dismissal is not filed by the specified date, then the parties shall appear in
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                                       Courtroom 2, 5th Floor of the United States District Court, 280 South First Street, San Jose,
                                  22
                                       California on March 31, 2015, 10:00 a.m. and show cause, if any, why the case should not be
                                  23
                                       dismissed pursuant to Fed. R. Civ. P. 41(a). Additionally, the parties shall file a statement in
                                  24
                                       response to this Order to Show Cause no later than March 24, 2015, advising as to (1) the status
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                                       of the activities of the parties in finalizing settlement; and (2) how much additional time, if any, is
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                                       requested to finalize the settlement and file the dismissal. If a dismissal is filed as ordered, the
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                                       Order to Show Cause hearing will be automatically vacated and the parties need not file a
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                                   1   statement in response to this Order.

                                   2          SO ORDERED.

                                   3   Dated: January 16, 2015

                                   4                                          ______________________________________
                                                                              HOWARD R. LLOYD
                                   5                                          UNITED STATES MAGISTRATE JUDGE
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Northern District of California
 United States District Court




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                                   1   5:14-cv-00100-HRL Notice has been electronically mailed to:
                                   2
                                       Gerard A. Rose   gerard@gerardroselaw.com
                                   3
                                       Michael Rudolph Philippi PhilippiMR@co.monterey.ca.us, moores@co.monterey.ca.us,
                                   4   zinmanK@co.monterey.ca.us
                                   5   Susan K. Blitch blitchsk@co.monterey.ca.us, mcmillincb@co.monterey.ca.us,
                                   6   moores@co.monterey.ca.us, zinmank@co.monterey.ca.us

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Northern District of California
 United States District Court




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